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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


WAYNE THOMAS,                      )
an individual,                     )
                                   )                   Case No.: 20-2483
       Plaintiff,                  )
v.                                 )
                                   )
DAD ENTREPRENEURS, LLC,            )
a Texas Limited Liability Company, )
                                   )
       Defendant.                  )
__________________________________ )

                                           COMPLAINT

       Plaintiff, WAYNE THOMAS, through his undersigned counsel, hereby files this

Complaint and sues DAD ENTREPRENEURS, LLC, a Texas Limited Liability Company, for

injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”), and alleges:

                                JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court has supplemental

jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. §1367(a).

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), because the

Defendant’s Property, which is the subject of this action, is located in Harris County, Texas.

       3.      Plaintiff, WAYNE THOMAS (hereinafter referred to as “MR. THOMAS” or

“Plaintiff”), is a resident of the State of Texas in Harris County.

       4.      MR. THOMAS is a qualified individual with a disability under the ADA. MR.
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THOMAS is paralyzed from the waist down.             MR. THOMAS is a paraplegic and uses a

wheelchair as his primary means of mobility.

       5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities, such as walking and standing, and requires a wheelchair for mobility.

       6.      Defendant, DAD ENTREPRENEURS, LLC, a Texas Limited Liability Company,

(hereinafter referred to as “DAD” or “Defendant”), is registered to do business in the State of

Texas. Upon information and belief, Defendant is the owner, lessor and/or operator of the real

property and improvements which are the subject of this action, to wit: the “Property,” known as

Wendy’s, generally located at 1484 Katy Fort Bend Road, Katy, Texas 77493.

       7.      All events giving rise to this lawsuit occurred in the Southern District of Texas.

                                          COUNT I
                             (VIOLATION OF TITLE III OF THE ADA)

       8.      Plaintiff realleges and incorporates into this cause of action each and every

allegation contained in the previous paragraphs of this Complaint.

       9.      The Property, a fast food restaurant, is open to the public and provides goods and

services to the public.

       10.     Plaintiff visited the Property and attempted to utilize the goods and services

offered at the Property and plans to return to the Property in the near future.

       11.     During his visit, MR. THOMAS experienced serious difficulty accessing the

goods and utilizing the services therein due to the architectural barriers discussed in this

Complaint.

       12.     MR. THOMAS continues to desire to visit the Property, but fears that he will

again encounter serious difficulty and safety hazards due to the barriers discussed herein which


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still exist.

         13.   Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. by excluding and/or

denying Plaintiff the benefits of the goods and services located on the Property by failing to

provide and/or correct the following barriers to access which Plaintiff personally observed,

encountered, and which hindered his access:

               A.    Plaintiff encountered inaccessible parking designated for disabled use due to

                     improper placement of ramps in access aisles;

               B.    Plaintiff encountered inaccessible entrances due to lack of level landings;

                     and

               C.    Plaintiff encountered inaccessible parking designated for disabled use due to

                     due to excessive long slopes.

         14.   Upon information and belief, there are other current violations of the ADA and

the ADA Accessibility Guidelines (“ADAAG”) at the Property, and only after a full inspection is

performed by the Plaintiff or Plaintiff’s representatives can all said violations be identified.

         15.   To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

         16.   Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

         17.   Removal of the barriers to access located on the Property is readily achievable,


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structurally feasible and easily accomplishable without placing an undue burden on Defendant.

       18.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       19.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant.

                                         PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:

       A.      That the Court declare that the Property owned, leased, and/or operated by

               Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its facilities to

               make them accessible to and useable by individuals with disabilities to the

               full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant to evaluate and neutralize

               its policies and procedures towards persons with disabilities for such

               reasonable time so as to allow Defendant to undertake and complete

               corrective procedures;

       D.      That the Court award reasonable attorneys’ fees, costs (including expert

               fees), and other expenses of suit, to the Plaintiff; and

       E.      That the Court award such other and further relief as it deems necessary, just



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      and proper.

                        By:   /s/ Louis I. Mussman       .




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